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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA

   UNITED STATES OF AMERICA                                Case No. 1:16-cr-0002-JMS-TAB-2

                                                           ORDER       ON     MOTION FOR
   v.                                                      SENTENCE REDUCTION UNDER
                                                           18 U.S.C. § 3582(c)(1)(A)
   JUAN MADRID,                                            (COMPASSIONATE RELEASE)


         Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

  in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

  in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,

  IT IS ORDERED that the motion is:

  ☒ DENIED.

  ☐ DENIED WITHOUT PREJUDICE.

  ☐ OTHER:

  ☒ FACTORS CONSIDERED: See attached opinion.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                           )
                                                      )
                               Plaintiff,             )
                                                      )
                          v.                          )        No. 1:16-cr-00002-JMS-TAB
                                                      )
  JUAN MADRID,                                        ) -02
                                                      )
                               Defendant.             )


                   Order Denying Second Motion for Compassionate Release

         On October 26, 2020, Defendant Juan Madrid filed his first Motion for Compassionate

  Release, pursuant to 18 U.S.C. § 3582(c)(1)(A), as amended by § 603 of the First Step Act of 2018,

  Pub. L. No. 115-391, 132 Stat. 5194, 5239 (2018). Dkt. 933. Madrid's original motion sought

  release based on the fact that he had tested positive for COVID-19 and did not believe that the

  Bureau of Prisons (BOP) could protect him from reinfection. Dkt. 933 at p. 9. In denying this

  motion, the Court explained that Madrid's motion did not show that he is entitled to compassionate

  release under § 3582(c)(1)(A). The Court provided Madrid with a form Motion for Sentence

  Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(A) (Compassionate Release), and explained that if

  Madrid renewed his motion, he must report when he tested positive for COVID-19; whether he

  suffered any symptoms after his infection with COVID-19; whether he had recovered from

  COVID-19; and, if he had not recovered, whether he continued to suffer from any symptoms. Dkt.

  934.
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          Now before the Court is Madrid's Second Motion for Compassionate Release. Dkt. 940.1

  Madrid incorporates his prior motion by reference and additionally asserts that he is entitled to

  immediate release from custody because he has "a serious physical or medical condition, that

  substantially diminishes [his] ability to provide self-care within the environment of a correctional

  facility, from which [he is] not expected to recover." Dkt. 940 at p. 4. Because Madrid has not

  shown extraordinary and compelling reasons for a sentence reduction, his motion is DENIED.

                                                     I.
                                                 DISCUSSION

          Madrid pled guilty to drug crimes (Counts 1 and 3), possession of a firearm as a previously

  convicted felon (Count 7), and conspiracy to launder monetary instruments (Count 23). He was

  sentenced to 240 months' imprisonment on Counts 1, 3, and 23, and 120 months' imprisonment on

  Count 7 with all Counts to run concurrently. He was further sentenced to a 5-year term of

  supervised release. Judgment was entered on June 28, 2017.

          Madrid is now 29 years old and incarcerated at Lompoc FCI. As of January 11, 2021, the

  BOP reports that Lompoc FCI has 0 active COVID-19 cases among inmates; it also reports that 3

  inmates at FCI Lompoc have died of COVID-19 and that 667 have recovered from the

  virus. https://www.bop.gov/coronavirus/ (last visited January 11, 2021). The Bureau of Prisons'

  website also reflects that Madrid's anticipated release date is December 24, 2032. See

  https://www.bop.gov/inmateloc/ (last visited Jan. 11, 2021).

          The Court understands Madrid to be arguing in his renewed motion for compassionate

  release that he should be released from incarceration because he has medical conditions that put

  him at an increased risk of experiencing severe COVID-19 symptoms and because he contracted



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           The Court concludes that it does not require a response from the United States to decide the issues
  present by Madrid's motion.
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  COVID-19 while in custody at Lompoc FCI. Madrid also asserts that he has a serious medical

  condition that substantially diminishes his ability to provide self-care at Lompoc FCI. Finally,

  Madrid's motion reflects that he is not happy with the way the BOP has handled the pandemic at

  Lompoc FCI.

         The general rule is that sentences imposed in federal criminal cases are final and may not

  be modified. 18 U.S.C. § 3582(c). Under one exception to this rule, a court may reduce a sentence

  upon finding there are "extraordinary and compelling reasons" that warrant a reduction. 18 U.S.C.

  § 3582(c)(1)(A)(i). This statute provides in relevant part:

         [T]he court, upon motion of the Director of the Bureau of Prisons, or upon motion
         of the defendant after the defendant has fully exhausted all administrative rights to
         appeal a failure of the Bureau of Prisons to bring a motion on the defendant's behalf
         or the lapse of 30 days from the receipt of such a request by the warden of the
         defendant's facility, whichever is earlier, may reduce the term of imprisonment (and
         may impose a term of probation or supervised release with or without conditions
         that does not exceed the unserved portion of the original term of imprisonment),
         after considering the factors set forth in section 3553(a) to the extent that they are
         applicable, if it finds that—

                 (i) extraordinary and compelling reasons warrant such a reduction . . . and
         that such a reduction is consistent with applicable policy statements issued by the
         Sentencing Commission . . . .

  18 U.S.C. § 3582(c)(1)(A).

         The Court ultimately possesses broad discretion to determine what constitutes an

  "extraordinary and compelling reason" under the statute. United States v. Gunn, 980 F.3d 1178,

  1180–81 (7th Cir. 2020). That said, in keeping with the Seventh Circuit's direction in Gunn, the

  Court evaluates motions brought under the "extraordinary and compelling" reasons prong of

  § 3582(c)(1)(A) with due regard for the guidance provided in U.S.S.G. § 1B1.13 by deciding: (1)

  whether a defendant has presented an extraordinary and compelling reason warranting a sentence

  reduction; (2) whether the defendant presents a danger to the safety of any other person or to the
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  community, as provided in 18 U.S.C. § 3142(g); and (3) whether the applicable sentencing factors

  in § 3553(a) favor granting the motion. Id. at 1180.

          Nothing in Madrid's pending motion for compassionate release suggests that he is facing

  extraordinary and compelling circumstances that warrant relief. First, there are no medical records

  or other evidence to support Madrid's assertion that he is unable to provide self-care at the prison.

  Indeed, Madrid contradicts this assertion by stating in his motion that he will seek employment

  upon release from custody and that he is currently enrolled in college courses. Dkt. 940 at p. 7.

  These circumstances are inconsistent with the inability to provide self-care.

          In addition, Madrid's medical diagnoses include tuberculosis, hypertension and skin

  infections. Id. These are not diagnoses that reflect an inability to provide self-care such as

  ambulation or feeding and dressing oneself. This conclusion is consistent with the fact that Madrid

  does not report requiring any durable medical equipment such as a wheelchair, walker, oxygen or

  hospital bed. Id. at p. 8.

          Madrid had a positive COVID-19 diagnosis. Dkt. 933-1 (postive SARS-CoV-2 RNA test

  collected on May 6, 2020). But there is no evidence that Madrid was ever hospitalized, and he does

  not contend that he is currently COVID-19 positive or still suffering from symptoms of COVID-

  19.

          Madrid reportedly has a medical condition that increases his risk for developing severe

  COVID-19 symptoms, but Madrid contracted COVID-19 months ago and he appears to have

  recovered. See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-

  medical-conditions.html (last visited January 11, 2021) (listing hypertension or high blood

  pressure a condition that might increase the risk of severe COVID-19 symptoms). There is no

  evidence that Madrid was hospitalized or required any medical attention to overcome the virus.
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  He does not claim to be suffering from any lasting effects from the virus. Thus, he has not shown

  extraordinary and compelling reasons warranting a sentence reduction. See, e.g., United States v.

  Weatherspoon, No. 2:11-cr-9-JMS-CMM-07, dkt. 894 (S.D. Ind. July 7, 2020) (finding no

  extraordinary and compelling reason where defendant had conditions putting him at risk for severe

  COVID-19 symptoms and had been hospitalized after testing positive for COVID-19, but had

  since recovered); United States v. Wyatt, No. 3:17-cr-11-RLY-MPB-02, dkt. 165 (S.D. Ind. Sept.

  3, 2020) (finding no extraordinary and compelling reason where defendant had conditions putting

  him at risk for severe COVID-19 symptoms and had tested positive for COVID-19 but remained

  asymptomatic).

         To the extent Madrid's pro se motion can be liberally read to suggest that the possibility of

  reinfection constitutes an extraordinary and compelling reason warranting release, the result does

  not change. The Court recognizes that FCI Lompoc experienced a large outbreak of COVID-19.

  But the outbreak currently appears to be largely under control in the inmate population. Regardless,

  any reliance on the possibility that Madrid will be re-infected and suffer severe symptoms is

  speculative. See     https://www.cdc.gov/coronavirus/2019-ncov/if-you-are-sick/quarantine.html

  (last visited Jan. 8, 2021) ("Cases of reinfection of COVID-19 have been reported but are rare.").

  To date, this Court has declined to find extraordinary and compelling circumstances warranting a

  sentence reduction when a defendant has experienced a mild case of COVID-19 or recovered from

  COVID-19—even when that defendant has risk factors for severe symptoms. See, e.g., Wyatt, No.

  3:17-cr-11-RLY-MPB-02, dkt. 165 (S.D. Ind. Sept. 3, 2020); United States v. Gevirtz, No. 1:17-

  cr-68-RLY-MJD-01, dkt. 68 (S.D. Ind. Sept. 14, 2020); United States v. Young, No. 1:10-cr-3-

  SEB-DML-17, dkt. 1540 (S.D. Ind. July 27, 2020); United States v. Swain, No. 2:15-cr-19-JMS-

  CMM-06, dkt. 781 (S.D. Ind. June 3, 2020).
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         Madrid's allegations that the BOP is unable to protect him from further infection because

  Lompoc FCI is overcrowded and understaffed could conceivably form the basis of a suit for civil

  relief. But these allegations do not represent a reason to release Madrid from incarceration more

  than 10 years early.

         Given the Court's determination that Madrid has not shown extraordinary and compelling

  reasons to justify his release, it does not need to decide whether he poses a danger to the community

  or whether the § 3553(a) factors weigh in favor of his release.

                                                 II.
                                             CONCLUSION

         For the reasons stated above, Madrid's Motion for Compassionate Release, dkt. [940],

  is denied.

         IT IS SO ORDERED.




           Date: 1/12/2021




  Distribution:

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